Case 1:12-cv-02121-LAK-JCF Document 160-2 Filed 04/28/15 Page 1of3
JONES DAY

Hon. James C. Francis [V
April 28, 2015
Page 8

As the representative of Weatherford’s auditor for the entire relevant period of this case,
“ee is an important witness. E&Y produced eene Ee
REDACTED in this action, and REDACTED
REDACTED
REDACTED

. CTED
Moreover, the subpoena called for PEPACTES

These circumstances alone provide good
cause to add two more hours to his deposition, but Plaintiffs’ refusal to fairly apportion time for
the examination is an additional factor. RERASED began at 8:33 a.m. and lasted until
6:05 p.m. Exhibit A at 2 and 383. Plaintiffs’ questioning lasted nearly seven hours, leaving only
one hour and approximately fifteen minutes for the Defendant to cover the topics on the notice
and to cross-examine the witness on issues covered by the Plaintiffs. The Defendant was
unilaterally denied a fair opportunity for cross-examination and should be granted two additional
hours to complete his examination. RERAG TER

B. E&Y Must Designate a Knowledgeable or Prepared Corporate Representative.

In addition to the relief requested above, the Defendant seeks one additional hour to
depose a corporate representative of E&Y with sufficient knowledge to provide complete,
knowledgeable, and binding answers on behalf of the organization to questions regarding Topics
1,3, 4, 5 and 6 of the subpoena.

Under Federal Rule of Civil Procedure 30(b)(6), an organization named as a deponent
must designate one or more officers, directors or managing agents, or another person to testify on
its behalf. The designated organizational representative must be able to provide “complete,
knowledgeable and binding answers.” Kyoei Fire & Marine Ins. Co. v. M/V Maritime Antalya,
248 F.R.D. 126, 152 (S.D.N.Y. 2007) (quoting Reilly v. NatWest Mkts. Group Inc., 181 F.3d
253, 268 (2d Cir. 1999). The representative does not need to have personal knowledge
concerning the matters in the deposition notice, but the corporation has an obligation to prepare
them to be able to give knowledgeable answers. Soroof Trading Dev. Co. v. GE Fuel Cell Sys.,
LLC, No. 10 Civ. 1391 (LGS)JCE), 2013 WL 1286078, at *2 (S.D.N.Y. March 28, 2013) (citing
Meyer Corp. U.S. v. Alfay Designs, Inc., No. 10 CV 3647, 2012 WL 3536987, at *8 (E.D.N.Y.
Aug. 13, 2012)).

Producing an unprepared witness is tantamount to a failure to appear. Sorvof, 2013 WL
1286078, at *2 (citing Rahman v. Smith & Wollensky Rest. Group, Inc., No. 06 Civ. 6198, 2009
WL 773344, at *1 (S.D.N.Y. March 18, 2009)). Even if a 30(b)(6) notice does not specify a
specific type of information, “[t]here is no question that Rule 30(b)(6) requires a party to
designate witnesses who can provide all the relevant information known or reasonably available
Case 1:12-cv-02121-LAK-JCF Document 160-2 Filed 04/28/15 Page 2 of 3
JONES DAY

Hon. James C. Francis [V
April 28, 2015
Page 9

to the entity.” Soroof, 2013 WL 1286078, at *3 (citing In re Air Cargo Shipping, No. 06-MD-
1775, 2012 WL 1129852, at *1 (E.D.N.Y. Mar. 27, 2012).

E& Y-——Weatherford’s auditor whose work is central to this dispute— had a responsibility
to designate a witness who could provide all the relevant information known or reasonably
available to it. Soroof, 2013 WL 1286078, at *2. E& Y’s representative was not prepared to
testify regarding a number of topics that were specifically noticed prior to the deposition and that
were material and relevant to this action. See Ex. A: Schedule A to Subpoena for E&Y
Deposition Testimony, at 8; testimony referenced in footnotes 2-6 of this letter brief.

Accordingly, the Defendant requests that this Court order Ernst & Young to designate
another corporate representative who can testify for one hour with adequate knowledgeable
about the numerous topics for which mee was unprepared or adequately prepare

sene*® to answer questions for one additional hour.

C. The Defendant is Entitled to Adequate Time to Cross-Examine "©°®CTE?
Plaintiffs have scheduled a deposition of former E&Y partner PEPACTEP on May 6,
2015, and the Defendant requests a Court order to ensure that he has a fair opportunity to cross-
examine the witness. For the reasons stated above with respect to the BEBACTES , the
Defendant is entitled to depose "©°*°T©® , and Plaintiffs must fairly apportion part of the 3%
hour noticed deposition to him or allow the Defendant to cross-examine the witness for an
equivalent time after the conclusion of the Plaintiffs’ examination. Given the contrary position
taken by Plaintiffs and E&Y in discussions about the deposition, and with a desire not to burden
the Court with additional disputes, the Defendant requests an order allowing him to depose
eeee™ for up to three and one-half hours on May 6, 2015. Out of an abundance of caution, the
Detendant has served a cross-notice of his intention to depose the witness for this time.

For these reasons, the Defendant respectfully requests that the Court enter an order that
compels Plaintiffs and E&Y to provide at least: (1) two hours for the Defendant to complete his
cross-examination of REDACTED E&Y’s designated Rule 30(b)(6) witness, who was
deposed on April 17, 2015; (2) one additional hour for the Defendant to cross-examine a
designated representative of E& Y who knows or is adequately prepared to testify about
information known or reasonably available to E&Y on topics 1, 3, 4, 5, and 6 in the previously
served subpoena: and (3) three and one-half hours for the Defendant to cross-examine E&Y
partner REPACTED Whose deposition is scheduled for May 6, 2015.
Case 1:12-cv-02121-LAK-JCF Document 160-2 Filed 04/28/15 Page 3 of 3

Hon. James C. Francis TV
April 28, 2015
Page 10

ce All Counsel of Record
Stanley J. Parzen [Mayer Brown]

peo eG
fol

JONES DAY

Respectfully submitted,

 
  

N. Scott Fletcher
Jones Day
Counsel for Defendant Bernard Duroc-Danner
